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                              UNITED STATES DISTRICT COURT
                              WESTERN DISTRICT OF MICHIGAN
                                   SOUTHERN DIVISION


BRET THIELEN, individually and on
behalf of a class of similarly situated
individuals,

                Plaintiff,
                                                                CASE NO. 1:06-CV-16
v.
                                                                HON. ROBERT J. JONKER
BUONGIORNO USA, INC., a Florida
Corporation, d/b/a BLINKO,

            Defendant.
__________________________________/

                                               ORDER

         Before the Court are Defendants' unopposed Motion to Dismiss Counterclaim with Prejudice

(Dkt. No. 47), and the parties' Stipulation and Order to Dismiss with Full Prejudice and Without

Costs "all of the claims which plaintiff made or could have made." (Dkt. No. 97).

         The Court having reviewed Defendants' Motion to Dismiss under FED . R. C IV . P. 41(a)(2)

and Plaintiff's Response stating that Plaintiff does not object to Defendants' Motion to Dismiss (Dkt.

No. 60 at 2), it is ORDERED that Defendants' Motion to Dismiss Counterclaim is GRANTED and

Defendant's counterclaim is DISMISSED with prejudice.

         IT IS FURTHER ORDERED under FED . R. C IV . P. 41(a)(2), based on the stipulation of

the parties, that this case, and all of the claims which Plaintiff made or could have made in this case,

are DISMISSED with full prejudice to all parties and without costs to any party.




Dated:      September 6, 2007                   /s/ Robert J. Jonker
                                                ROBERT J. JONKER
                                                UNITED STATES DISTRICT JUDGE
